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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF F%ORIDA

                             Case No. 09- 10004-MOORE/SIMONTON

  THE COUNTY OF MONROE, FLORIDA,

          Plaintiff,



  PRICELINE.COM, INC., et al.,

          Defendants.



       ORDER GRANTING IN PART AND DENYING IN PART DEFENDANTS' MOTION
                                TO DISMISS


          THIS CAUSE came before the Court upon Defendants' Motion to Dismiss Plaintiffs

  Amended complaint1 (dkt # 24). Plaintiff filed a Response (dkt # 26), and Defendants filed a

  Reply (dkt # 25).

  I.      BACKGROUND

          Plaintiff, the County of Monroe, Florida ("the County") brings this action on behalf of a

  putative class of Florida counties that have enacted tourist development taxes ("TDT"), and that

  allegedly have not received the amounts due from Defendants-various       online travel




  ' On March 30,2009, this Court entered an Order (dkt # 17) dismissing this matter without
  prejudice in light of the Parties' failure to timely file a joint scheduling report as required by
  Local Rule 16.1 and this Court's Pretrial Order (dkt # 3). Instead of filing a joint scheduling
  report and moving the Court to reopen this case, Plaintiff initiated a higher-numbered action,
  County of Monroe v. Priceline.com et al., Case No. 09-21002-CIV-UNGARO. That case was
  transferred and consolidated with this action. See id., Order of Consolidation (dkt # 13).
  Pursuant to the Order of Consolidation, the Parties filed a joint scheduling report (dkt # 20-2) in
  this matter. This Court then reopened this case and instructed the Parties to re-file the instant
  Motion and corresponding briefing. See Order Reopening Case (dkt # 21).
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  companies,2or " O T C s 9 k d e rthose tax laws. This action is one of a number of similar

  lawsuits filed around the country by municipalities alleging that OTCs have failed to remit taxes

  due under local TDT ordinances.

         Pursuant to its authority under 8 125.0104(3)(a), Florida Statutes, the County imposes a

  tourist development tax3

         of three percent of each whole and major fraction of each dollar of the total rental
         charged every person who rents, leases or lets for consideration any living
         quarters or accommodations in any hotel, apartment hotel, motel, resort motel,
         apartment motel, roominghouse, tourist or trailer camp or condominium for a
         term of six months or fewer.

  Monroe County Code 8 23-197(a) (the "TDT Ordinance"). The Monroe County Code further

  provides that the tax "shall be charged by the person receiving the consideration for the lease or

  rental, and it shall be collected from the lessee, tenant or customer at the time of payment of the

  consideration for such lease or rental."   Id.at 8 23-197(c).
         The nub of the instant dispute is whether the Defendants "rent, lease or let for

  consideration" hotel space, and whether they are "the person receiving the consideration for the

  lease or rental," such that they are covered by the TDT Ordinance. The County alleges that

  Defendants' actions are covered by the ordinance and that Defendants have violated the

  Ordinance by failing to remit taxes on online room reservation transactions (Count I). The

  Amended Complaint further alleges that the Defendants are liable to the County for conversion

  (Count 11) and unjust enrichment (Count 111). The County seeks a permanent injunction (Count

  IV) mandating that the Defendants comply with the Ordinance going forward. Defendants argue



   The Defendants in this action are Priceline.com Inc., Travelweb L.L.C., Travelocity.com L.P.,
  Site59.com L.L.C., Expedia Inc., Hotels.com L.P., Hotwire Inc., Trip Network Inc. (d/b/a
  Cheaptickets.com), and Orbitz L.L.C. (collectively, "Defendants").
   Defendants have submitted the full text of the current Monroe County tourist development tax
  provisions at dkt # 24-2.
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    that the act of selling room reservations to consumers over the internet is not covered by the

    Ordinance, and that Counts I1 - IV also fail for independent reasons.

    11.      STANDARD OF REVIEW

           A motion to dismiss for failure to state a claim merely tests the sufficiency of the complaint;

    it does not decide the merits of the case. Milburn v. U.S., 734 F.2d 762,765 (1 lth Cir. 1984).

    On a motion to dismiss, the Court must accept the factual allegations as true and construe the

    complaint in the light most favorable to the plaintiff. SEC v. ESM Group, Inc., 835 F.2d 270,

    272 (1 1th Cir. 1988). "Factual allegations must be enough to raise a right to relief above the

    speculative level." Bell Atlantic Corn v. Twomblv, 550 U.S. 544, 555-56 (2007). A complaint

    must contain enough facts to indicate the presence of the required elements. Watts v. Fla. Int'l

Y   Univ 495 F.3d 1289, 1302 (1 1th Cir. 2007). "[C]onc1usory allegations, unwarranted deductions
    .




    of fact or legal conclusions masquerading as facts will not prevent dismissal." Oxford Asset

    M m t . , Ltd. v. Jaharis, 297 F.3d 1182, 1188 (1 1th Cir. 2002). However, as long as the

    allegations rise above a speculative level, a well-pleaded complaint will survive a motion to

    dismiss "'even if it appears that a recovery is very remote and unlikely."' Conley v. Gibson, 355

    U.S. 41,45-46 (1957) (overruled on other grounds by Twomblv, 550 U.S. at 548-49 (citation

    omitted)).

    111.     ANALYSIS

             A.
             -       Count I: Applicability of the TDT Ordinance to Defendants' Conduct

                     1.     Ambiguity of the Ordinance and its Enabling Act

             At the outset, this Court notes that a previous decision in this District dealing with nearly

    identical facts and law declined to grant a motion to dismiss filed by the same OTCs who are

    Defendants here. See Leon County v. Hotels.com, et al., No. 06-21878-CIV-HUCK, 2006 WL
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  3519102, at *1 (S.D. Fla. Dec. 6,2006). In that case, Leon County, Florida filed suit against the

  OTCs in an attempt to collect tourist development tax allegedly due under a county ordinance

  materially identical to the one at issue here. See id. at *3. The Defendants argue vigorously that

  Leon Countv was wrongly decided because it failed to consider that, under Florida law, tax

  statutes of "dubious or unclear applicabilityyymust be "construed strongly in favor of the

  taxpayer and against the government."     See Assocs. Commercial Corn. V.Sel-0-Rak Corn., 746
  F.2d 1441, 1444 (1 lth Cir. 1984); see also Florida ex rel. Indep. Life & Accident Ins. Co. v.

  Dickinson, 2 12 So.2d 293,295 (Fla. 1968).

         Neither the TDT Ordinance nor the enabling act under which it is promulgated is

  ambiguous. Section 125.0104(3), Florida Statutes, ("the Enabling Act") states in pertinent part

  as follows:

         It is declared to be the intent of the Legislature that every person who rents, leases, or lets
         for consideration any living quarters or accommodations in any hotel, apartment hotel,
         motel, [or] resort motel . . . is exercising a privilege which is subject to taxation under
         this section . . .

  tj 125.0104(3)(a), Fla. Stat. The County alleges that the Defendants do indeed "rent, lease, or let

  for consideration" hotel rooms, and, as Defendants acknowledge, at this stage of the proceedings

  this allegation must be accepted as true. There is no ambiguity to resolve, either in the plain

  language of the Enabling Act or the TDT Ordinance, both of which include the terms "rent,

  lease, or let for consideration."   See Monroe County Code tj 23-197(a).   If Defendants do in fact

  "rent, lease, or let" rooms for consideration, they are engaging in a practice that is

  unquestionably subject to taxation under these provisions.

         Further, the Complaint plausibly alleges that the Defendants do "rent, lease, or let for

  consideration" hotel space, based on Defendants' description of their conduct in their own Form

  10-K's, filed publicly with the U.S. Securities and Exchange Commission. According to the
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  Complaint, the Defendants' 10-K's discuss a change in their business model from an "agency

 model," in which the Defendants merely facilitate room rental transactions between hotels and

  customers-with     rental prices set by the hotel-to   a "merchant model," in which the Defendants

 purchase and receive hotel rooms as inventory and then re-let them to customers at Defendants'

  determined rate.   See Am. Compl. at       18 - 25.4 However the terms "rent, lease, or let for

  consideration" are interpreted, it is plausible that those terms include the acts of receiving hotel

  rooms as inventory, setting a price for their use, and then re-letting them to customers. The

  instant Motion contests whether the Defendants actually do "purchase" or "take title" to hotel

  rooms, as indicated in Defendants' Form 10-K's. That, however, is an issue more appropriately

  determined at the summary judgment stage, after discovery is completed. At this stage, the

  County has sufficiently alleged, based in part on the Defendants' own public filings, that

  Defendants follow a business model in which they rent, lease, or let rooms for consideration.

         2.        Whether Defendants are "the Person" Receiving Consideration for Rentals

         Defendants argue that they are not "the person" receiving consideration for rental

  transactions, within the meaning of the TDT Ordinance. This assertion was rejected in Leon

  Countv. See Leon Countv, 2006 WL 3519102, at *2. As stated in that decision, taking the

  County's allegations as true, the Defendants indeed are "the persons" receiving the consideration

  for the rental transaction. Reading the term "the person" to mean that only a single individual or

  entity may be subject to taxation for a rental transaction would be inconsistent with the statutory

  language, discussed above, stating that the TDT Ordinance applies to "every person" renting

    The Form 10-K's describe the Defendants' actions in the following terms: "[Wle receive
  inventory . . . and we then process the transactions as merchant of record for the transaction;"
  "[Wle . . . purchase and take title to the particular product and are the merchant of record;"
  "[Wle contract with hotels and other lodging properties . . . and resell these rooms to customers
  . . ."; "[Wle receive inventory directly from a hotel at a negotiated rate, and we determine the
  retail price at which we choose to offer it to the hotel;" "Travelocity serves as the merchant of
  record in the transaction rather than a sales agent." Am. Compl. at 77 18 - 25.
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 rooms for consideration. See APA Excelsior I11 L.P. v. Premiere Techs., Inc., 476 F.3d 1261,

 1268 (1 1th Cir. 2007) (stating that "a statute should, if at all possible, be read so 'as to avoid an

 unjust or absurd conclusion."') (quoting In re Chapman, 166 U.S. 661,667 (1897)). It would

 also conflict with the Enabling Act language indicating that TDT is to be collected on the "total

 consideration" charged per rental transaction. § 125.0104(3)(~),Fla. Stat.; see also City of

 Goodlettsvile v. Priceline.com, 605 F. Supp. 2d 982,997-98 (M.D. Tenn. 2009) (concluding that

 OTCs were charged with collecting and remitting taxes on the "entire amount charged" for

 rental, not merely the wholesale rate). Accordingly, the Complaint sufficiently alleges that the

 Defendants may be "the person" receiving consideration, within the meaning of the TDT

 Ordinance.

                3.      Previous OTC Taxation Cases

        As noted above, a number of similar actions seeking TDT or hotel occupancy tax

 payments from the OTCs have been filed in state and federal courts, with differing results.

 Compare, a,
           Pitt Countv v. Hotels.com, L.P., 553 F.3d 308,313 (4th Cir. 2009) (concluding

 that OTCs were not subject to municipal TDT ordinance); City of Orange v. Hotels.com, No.

 1:06-CV-413,2007 WL 2787985, at *5 (E.D. Tex. Sept. 21,2007) (same); Louisville/Jefferson

 County Metro Gov't v. Hotels.com L.P., No. 3:06-CV-480-R, 2008 WL 4500050, at *5 (W.D.

 Ky. Sept. 30,2008) (same);         City of Goodlettsvile, 605 F. Supp. 2d at 997-98 (denying

 OTCs' motion to dismiss and concluding that they were subject to municipal TDT ordinance);

 Leon County, 2006 WL 35 19102, at * 1 (same); Exvedia, Inc. v. City of Columbus, 68 1 S.E. 2d

  122, 127-29 (Ga. 2009) (concluding that OTCs were subject to Georgia municipal TDT

 ordinance). Each Party here, of course, urges the Court to follow the cases with outcomes

 favorable to its respective position.
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         While each of these cases involves slightly different statutory language from the TDT

  Ordinance-with    the significant exception of the Leon Countv case-the     decisions that

  Defendants cite in support of their Motion are more readily distinguishable. In Pitt County, for

  example, the "dispositive issue" was whether the OTCs were "operators" of hotels or motels

  within the meaning of the relevant ordinance. See Pitt Countv, 553 F.3d at 313. In contrast,

  Monroe County's TDT ordinance is not limited to those who "operate" hotels. City of Orange is

  even more readily distinguished, because the tax ordinance in that case explicitly applied only to

  "hotels or motels," which, of course, the Defendants are not.   See City of Orange, 2007 WL
  2787985 at *5-6. Lastly, the tax ordinance in Louisville/Jefferson County Metro Government

  applied to entities who are "doing business as motor courts, motels, hotels, inns or like or similar

  accommodations businesses." See Louisville/Jefferson Countv Metro Government, 2008 WL

  4500050, at *2. The Defendants here, in contrast, are not "doing business" as hotels or motels,

  but rather as travel companies.

         The TDT Ordinance and the Enabling Act both sweep more broadly than the statutory

  language used in all the above cases. The statutory terms at issue here are not limited to those

  "operating" hotels or engaged in a particular line of business, but rather, apply expressly to

  "every person" who rents rooms for consideration.        5 125.0104(3)(a),Fla. Stat.; Monroe
  County Code 5 23-197(a). The statutory language in the cases cited by Defendants is narrower,

  and therefore those cases do not support dismissal of this action.

         B.
         -       Count 11: Conversion

         Under Florida law, "a conversion is an unauthorized act which deprives another of his

  property permanently or for an indefinite time." Mavo v. Allen, 973 So. 2d 1257, 1258-59 (Fla.

  1st Dist. Ct. App. 2008) (citing Star Fruit Co. v. Eanle Lake Growers. Inc., 33 So. 2d 858 (Fla.
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   1948)). Defendants assert three bases for dismissing the County's conversion claim, none of

  which is meritorious.

                 1.       Demand and Refusal

          A conversion "may be, but is not always, shown by demand and refusal." Senfeld v.

  Bank of Nova Scotia Trust Co., 450 So. 2d 1157, 1161 (Fla. 3d Dist. Ct. App. 1984).

  '"[Dlemand and refusal are unnecessary' where they 'would be futile."' Ernie Passeos, Inc. v.

  O'Halloran, 855 So. 2d 106, 109 (Fla. 2d Dist. Ct. App. 2003) (quoting Shelby Mut. Ins.Co. v.

  Crain Press. Inc., 481 So. 2d 501, 503 (Fla. 2d Dist. Ct. App. 1986). Here, the County was not

  required to make a demand for the disputed funds before bringing a conversion claim, as it has

  adequately stated a claim that the Defendants' original possession of the h d s was unlawful.

  See Mayo, 973 So. 2d at 1259 ("The generally accepted rule is that demand and refusal are
  -

  unnecessary where the act complained of amounts to conversion regardless of whether a demand

  is made") (citations and internal quotation marks omitted); Mullenmaster v. Newbern, 679 So. 2d

   1186, 1887 (Fla. 4th Dist. Ct. App. 1996) (concluding that demand was not required for

  conversion claim where defendants' original possession of the disputed funds was unlawful); see

  also City of Goodlettsville, 605 F. Supp. 2d at 999 (same); City of Charleston v. Hotels.com,

, .L P 520 F. Supp. 2d 757, 772 (D.S.C. 2007) (same); City of Findlay v. Hotels.com, L.P., 441 F.
  Supp. 2d 855,865 (N.D. Ohio 2006) (same).

          Further, the County's decision not to first demand the disputed funds is excused for the

  additional reason that, as the course of this litigation indicates, any such demand would have

  been rebuffed by the Defendants, and would therefore have been futile.       Ernie Passeos, Inc.,
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        855 So. 2d at 109.~Accordingly, demand and refusal were not a prerequisite to the County's

    conversion claim in this case.

                      2.      Immediate Right to Possession

               Conversion is a possessory action that requires the plaintiff to show a present or

    immediate right of possession to the property in question. See Ginsbern v. Lennar Fla. Holdings,

Y   Inc 645 So. 2d 490,499 (Fla 3d Dist. Ct. App. 1994). For the reasons stated above, the County
    .




    has sufficiently stated a claim that the Defendants' rental transactions were subject to the TDT

    Ordinance at the time they occurred.     See Monroe County Code tj 23-197(c) (stating that TDT is
    to be collected "at the time of payment of the consideration for such lease or rental").

    Accordingly, the County has adequately alleged that it had an immediate right to possession of

    the disputed funds.

                      3.      Specific Fund Requirement

               Under Florida law, money is generally the proper subject of a conversion claim

    where it exists as "a specific fund capable of separate identification." Bankest Imports, Inc.

    ISCA Corp., 717 F. Supp. 1537, 1542 (S.D. Fla. 1989). As the Eleventh Circuit has explained,

    however, "[tlhis general rule is an expression of the principle that 'an action in tort is

    inappropriate where the claim is based on a breach of contract."' Bel-Be1 Int'l Corn. v. Cmtv.

    Bank of Homestead, 162 F.3d 1101, 1109 (1 1th Cir. 1998) (citing Capital Bank v. G & J Invs.

    Corn., 468 So. 2d 534, 535 (Fla. 3d Dist. Ct. App. 1985)). The disputed funds here are not the

    subject of any contractual relationship between the County and the Defendants. This case is not,


     Defendants argue that one Florida case, Ginsbern v. Lennar Fla. Holdings, Inc., 645 So. 2d 490,
    500 (Fla 3d Dist. Ct. App. 1994) stands for the proposition that futility of demand must be
    explicitly alleged in the complaint. More recent cases, however, state that a plaintiff must simply
    "show" or "demonstrate" that demand would be futile. See, e.g., Mayo, 973 So. 2d at 1259. To
    the extent that a showing of demand futility was required here, the County's pleadings are
    sufficient to meet that requirement.
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  therefore, "an attempt to transform a breach of contract action into a tort action," and

  accordingly, the specific h n d requirement is inapplicable here. See id. Moreover, even if the

  requirement did apply, it would be satisfied because there are in fact funds "capable of separate

  identification": the proceeds from the retail step of the Defendants' room rental transactions.

         C.
         -       Count 111: Uniust Enrichment

         Under Florida law, the elements of an unjust enrichment claim are: "1) the

  plaintiff has conferred a benefit on the defendant; 2) the defendant has knowledge of the benefit;

  3) the defendant has accepted or retained the benefit conferred; and 4) the circumstances are such

  that it would be inequitable for the defendant to retain the benefit without paying fair value for

  it." Golden v. Woodford, 15 So. 3d 664,670 (Fla. 1st Dist. Ct. App. 2009) (quoting Della Ratta

  v. Della Ratta, 927 So. 2d 1055, 1059 (Fla. 4th Dist. Ct. App. 2006). The County has adequately

  stated a claim for unjust enrichment. The Amended Complaint alleges that the Defendants

  conducted their travel business within the state of Florida and the County of Monroe, and thereby

  "exercise[d] a privilege" within the meaning of the Enabling Act and are subject to taxation

  under the TDT Ordinance. See § 125.0104(3)(a),Fla. Stat. By exercising this privilege, the

  Defendants knowingly received an economic benefit, conferred upon them by the County.

         By failing to collect and remit the tax allegedly owed on the entire transaction, the

  Defendants retained this benefit inequitably-assuming,    once again, that the County's

  allegations are true. It is irrelevant that that the Defendants received taxable fbnds from

  consumers rather than the County, because the benefit conferred was not the receipt of those

  funds, but the ability to conduct business within the County.   See Citv of Goodletsville, 605 F.
  Supp. 2d at 998-99 (permitting unjust enrichment claim to proceed against OTCs, and

  concluding that "[a]lthough the actual money owing under the Tax Ordinance may have been
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  paid to the defendants by consumers, rather than by the plaintiff, those funds were fhdarnentally

  the property of the plaintiff '). Accordingly, the Defendants' Motion is denied with respect to the

  County's unjust enrichment claim.

         D.
         -       Count IV: Iniunctive Relief

    To obtain a permanent injunction under Florida law, a plaintiff must "establish a clear legal

  right [to the relief requested], an inadequate remedy at law, and that irreparable harm will arise

  absent injunctive relief." Liberty Counsel v. Fla. Bar Bd. of Governors, 12 So. 3d 183, 186 n.7

  (Fla. 2009) (citation and quotation marks omitted).

         The County alleges in conclusory fashion that 1) it lacks an adequate remedy at law, and

  2) that it will suffer irreparable harm absent a permanent injunction.   See Amended Compl. 17
  5 1-52. The County fails to plead any facts in support of these allegations, however, and

  therefore has not sufficiently pleaded a claim for injunctive relief. Under 5 212, Florida Statutes,

  the County has a host of administrative, civil, and criminal enforcement remedies to ensure

  compliance with its tax laws. See, e.g.,   5 212.12(2)(a), Fla. Stat. (providing for penalty of ten
  percent for failure to timely pay tax); 5212.12(13), Fla. Stat. (stating that failure to pay TDT is

  punishable as a misdemeanor, or, if offense involves intentional destruction of records, as a

  felony); fj 212.13, Fla. Stat. (providing for auditing of records of businesses charged with

  reporting or paying tax). The County has not explained why these provisions are inadequate to

  safeguard its ability to collect the TDT, such that a permanent injunction is necessary.

         The County argues that it need not plead more than it already has with respect to the

  inadequate remedy and irreparable harm elements because these two elements are presumed

  satisfied where a government seeks an injunction to enforce its "police power." See Polk County

  v. Mitchell, 931 So. 2d 922,926 (Fla. 2d Dist. Ct. App. 2006). Here, however, the County seeks
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  an injunction in furtherance of its taxing power, which is fundamentally different from its police

  power.   See Fla. Dep't of Banking and Finance v. Credicorp, Inc., 684 So. 2d 746,750 (Fla.
  1996) (distinguishing taxation from use of police power for purposes of the federal Commerce

  Clause); Graham v. Estuary Props., Inc., 399 So. 2d 1374, 1381 (Fla. 1981) (stating that "valid

  exercise of the police power" consists only in regulations that relate to promotion of health,

  safety, welfare, or public morals). Since the County is not seeking an injunction in furtherance

  of its police power, and has failed to allege facts demonstrating irreparable harm or lack of a

  legal remedy, its claim for injunctive relief must fail.

           Further, the County's proposed relief is the kind of perpetual mandatory injunction that

  Florida law does not countenance. See Indian Trail Homeowners Ass'n, Inc. v. Roberts, 577 So.

  2d 998,999 (Fla. 4th Dist. Ct. App. 1991). Such an injunction would require this Court to

  "assume an endless duty inappropriate to its hnction,"     see Fla. Jai Alai, Inc. v. S. Catering
  Servs., Inc., 388 So. 2d 1076, 1078 (Fla. 5th Dist. Ct. App. 1980). This concern is particularly

  acute here, because the proposed injunction would essentially require a federal district court to

  indefinitely oversee the administration of a municipal tax ordinance.

  IV.      CONCLUSION

           Based on the foregoing, it is

           ORDERED AND ADJUDGED that the Defendants' Motion to Dismiss (dkt # 24) is

  GRANTED IN PART and DENIED IN PART. The Motion is GRANTED with respect to Count

  IV of the Amended Complaint, for injunctive relief. In all other respects, the Motion is

  DENIED. It is further

           ORDERED AND ADJUDGED that the County shall file a motion for class certification

  pursuant to Federal Rule of Civil Procedure 23 within fifteen (15) calendar days of the date of
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  entry of this Order, with Defendants' Response due ten (10) calendar days from the date of filing

  of the motion, and Plaintiffs Reply due five (5) calendar days thereafter.

          DONE AND ORDERED in Chambers at Miami, Florida, thi4/@day             of December,

  2009.




                                                 ( UNITED STATES DISTRICT JUDGE


  cc: All counsel of record
